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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-0856V
                                     Filed: August 16, 2019
                                         UNPUBLISHED


    KATHRYN N. LAKE, as parent and
    legal representative of her minor
    daughter, J.M.,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Interim Attorneys’ Fees and Costs
    v.

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.


Ramon Rodriguez, III, Sands Anderson, P.C., Richmond, VA, for petitioner.
Camille Michelle Collett, U.S. Department of Justice, Washington, DC, for respondent.

                DECISION ON INTERIM ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

       On July 21, 2016, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleged that her minor daughter, J.M. suffered injuries resulting from
her haemophilus influenzae type b (“Hib”) vaccine, administered on July 23, 2013. Id. at
1.


1 The undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the decision will be available to anyone with access to the Internet. In accordance with
Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished decision contains a reasoned explanation for the
action in this case, the undersigned is required to post it on the United States Court of Federal Claims'
website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       On May 15, 2019, petitioner filed a motion for interim attorneys’ fees and costs.
ECF No. 64. Petitioner requests attorneys’ fees in the amount of $18,883.50 and
attorneys’ costs in the amount of $961.88. Id. at 10-11. Thus, the total amount
requested is $19,845.38.

       The requested fees include work performed and costs incurred through July 14,
2017, when Petitioner’s counsel of record Dr. Ramon Rodriguez, III, was employed at
the Rawls Law Group (“RLG”). Id. at 3. Petitioners argue that an award of interim fees
and costs is appropriate in this case for two reasons. First, petitioners argue that their
claim satisfies the good faith and reasonable basis criteria. Id. at 4. Second, they
argue that the legal work in the matter has been ongoing since August 2013 and
“[b]ecause RLG employees are no longer involved in this case[,] RLG is experiencing
financial hardship and delay for work” performed by Dr. Rodriguez while he was
employed at RLG. Id. at 8.

       Respondent filed his response to petitioner’s motion on May 29, 2019. ECF No.
67. Respondent did not provide any objection to petitioner’s request. Id. at 2. Instead
“respondent respectfully recommends that the Chief Special Master exercise her
discretion and determine a reasonable award for attorneys’ fees and costs. Id. at 3.
Respondent noted, however, that he “defers to the Chief Special Master to determine
whether or not petitioner has met the legal standard for an interim fees and costs
award.” Id.

       For the reasons stated by petitioner, lack of objection by respondent, and
because the amounts requested are substantial and the proceedings within this court
have been pending for over three years, the undersigned GRANTS the motion for
interim attorneys’ fees and costs. See Avera v. Sec’y of Health & Humans Servs., 515
F. 3d. 1343, 1352 (Fed. Cir. 2008).

       Accordingly, the undersigned awards the total of $19,845.383 as a lump
sum in the form of a check jointly payable to petitioner and former counsel for
petitioner, Rawls Law Group.

          The clerk of the court shall enter judgment in accordance herewith. 4

IT IS SO ORDERED.

                                                            s/Nora Beth Dorsey
                                                            Nora Beth Dorsey
                                                            Chief Special Master


3   This amount is intended to cover fees and costs as set forth in this motion.

4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                       2
